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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

       Plaintiff/Respondent,
                                               Criminal No. 06-20234
 v.                                            Civil No. 14-13557

 AHMAD DANIELS,                                Hon. John Corbett O’Meara

      Defendant/Petitioner.
 _______________________________/

                       ORDER DENYING MOTION FOR
                      CERTIFICATE OF APPEALABILITY

       Before the court is Petitioner Ahmad Daniels’s motion for a certificate of

 appealability, filed January 6, 2015. The court denied Petitioner’s motion to vacate

 sentence under 28 U.S.C. § 2255 on December 18, 2014. Petitioner filed a notice

 of appeal to the Court of Appeals for the Sixth Circuit on January 6, 2015.

       Petitioner may appeal the denial of his § 2255 motion if this court or the

 Sixth Circuit grants a certificate of appealability under 28 U.S.C. § 2253(c).

 See Fed. R. App. P. 22(b)(1). The court may issue a certificate of appealability if

 the petitioner has made “a substantial showing of the denial of a constitutional

 right.” 28 U.S.C. § 2253(c)(2).

              [T]he petitioner need not show that he should prevail on
              the merits. He has already failed in that endeavor.
              Rather, he must demonstrate that the issues are debatable
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              among jurists of reason; that the court could resolve the
              issues [in a different manner]; or that the questions are
              “adequate to deserve encouragement to proceed further.”

 Barefoot v. Estelle, 463 U.S. 880, 893 n.4 (1983) (citations omitted); Hence v.

 Smith, 49 F. Supp. 2d 547, 549 (E.D. Mich. 1999).

       Petitioner claims that his counsel was ineffective during jury selection and at

 his re-sentencing. For the reasons explained in its December 18, 2014 order, the

 court finds that the issues are not “debatable” and that Petitioner has not made a

 substantial showing of a denial of a constitutional right. See Docket No. 360.

       Accordingly, IT IS HEREBY ORDERED that Petitioner’s motion for a

 certificate of appealability is DENIED.

                                        s/John Corbett O’Meara
                                        United States District Judge

 Date: February 17, 2015



        I hereby certify that a copy of the foregoing document was served upon the
 parties of record on this date, February 17, 2015, using the ECF system and/or
 ordinary mail.


                                        s/William Barkholz
                                        Case Manager




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